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                                     EXHIBIT 1
District courts upholding the constitutionality of 18 U.S.C. § 922(g)(1) post-Bruen
* Courts within 10th Circuit
** Courts noting Rahimi


1.     United States v. Cleveland-McMichael, No. 3:21-cr-00119-SLG, 2023 WL
       2613548 (D. Alaska Mar. 23, 2023)

2.     United States v. Bradley, No. 2:22-cr-00098, 2023 WL 2621352 (S.D. W. Va. Mar.
       23, 2023)

3.     United States v. Hoeft, No. 4:21-CR-40163-KES, 2023 WL 2586030 (D. S.D. Mar.
       21, 2023)

4.     United States v. Mason, No. 4:23-cr-0036-P, 2023 WL 2589395 (N.D. Tex. Mar.
       21, 2023)**

5.     United States v. Rice, No. 3:22-CR-36 JD, 2023 WL 2560836 (N.D. Ind. Mar. 17,
       2023)**

6.     United States v. Davis, No. 1:21-cr-00206-ADA-BAM-1, 2023 WL 2505039 (E.D.
       Cal. Mar. 14, 2023)

7.     United States v. Robinson-Davis, No. 7:22-cr-00045, 2023 WL 2495805 (W.D. Va.
       Mar. 14, 2023)

8.     United States v. Kilgore, No. 1:21-CR-00277 JLT SKO, 2023 WL 2505012 (E.D.
       Cal. Mar. 14, 2023)

9.     Leonard v. United States, No. 22-CV-22670-RAR, 2023 WL 2456042 (S.D. Fla.
       Mar. 10, 2023)

10.    United States v. Lindsey, --- F. Supp. 3d ----, 2023 WL 2597592 (S.D. Iowa Mar.
       10, 2023)

11.    United States v. Tribble, No. 2:22-CR-085-PPS-JEM, 2023 WL 2455978 (N.D. Ind.
       Mar. 10, 2023)

12.    United States v. Mayfield, No. 22-CR-00242-GKF, 2023 WL 2386322 (N.D. Okla.
       Mar. 6, 2023)*

13.    United States v. Peck, No. 8:20CR227, 2023 WL 2351697 (D. Neb. Mar. 3, 2023)**



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14.   United States v. Belin, No. 21-CR-10040-RWZ, 2023 WL 2354900 (D. Mass. Mar.
      2, 2023)

15.   United States v. Braster, No. 1:20-CR-66-HAB, 2023 WL 2346282 (N.D. Ind. Mar.
      2, 2023)

16.   United States v. Clark, No. 1:20-CR-49-HAB, 2023 WL 2346284 (N.D. Ind. Mar. 2,
      2023)

17.   United States v. Barnes, No. 22-CR-43-JPO, 2023 WL 2268129 (S.D.N.Y. Feb.
      28, 2023)

18.   United States v. Beard, No. 4:22-CR-92-1, 2023 WL 2249986 (S.D. Tex. Feb. 27,
      2023)

19.   United States v. Smith, No. 22-cr-20351, 2023 WL 2215779 (E.D. Mich. Feb. 24,
      2023)

20.   United States v. Barber, No. 3:22-cr-00065-SLG-MMS, 2023 WL 2140526 (D.
      Alaska Feb. 21, 2023)

21.   United States v. Johnson, No. 22-CR-20370-GAYLES/TORRES, 2023 WL
      2308792 (S.D. Fla. Feb 20, 2023)

22.   United States v. Price, --- F. Supp. 3d ----, 2023 WL 1970251 (N.D. Ill. Feb. 13,
      2023)**

23.   United States v. Jackson, --- F. Supp. 3d ----, 2023 WL 1967199 (W.D. Wash. Feb.
      13, 2023)

24.   United States v. Kirby, No. 3:22-cr-26-TJC-LLL, 2023 WL 1781685 (M.D. Fla. Feb.
      6, 2023)

25.   United States v. Gleaves, --- F. Supp. 3d ----, 2023 WL 1791866 (M.D. Tenn. Feb.
      6, 2023)**

26.   United States v. Martin, No. 2:21-cr-00068, 2023 WL 1767161 (D. Vt. Feb. 3, 2023)

27.   United States v. Isaac, No. 5:22-cr-117-LCB-HNJ-1, 2023 WL 1415597 (N.D. Ala.
      Jan. 31, 2023)

28.   United States v. Taylor, No. 3:22-cr-00022-GFVT-EBA-1, 2023 WL 1423725 (E.D.
      Ky. Jan. 31, 2023)

29.   United States v. Barber, No. 4:20-CR-384-SDJ, 2023 WL 1073667 (E.D. Tex. Jan.
      27, 2023)

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30.   United States v. Brown, No. 20-260-1, 2023 WL 424260 (E.D. Pa. Jan. 26, 2023)

31.   United States v. Rush, No. 22-cr-40008-JPG, 2023 WL 403774 (S.D. Ill. Jan. 25,
      2023)

32.   Shipley v. Hijar, No. EP-23-CV-11-KC, 2023 WL 343994 (W.D. Tex. Jan. 20,
      2023)

33.   Battles v. United States, No. 4:23-cv-00063-HEA, 2023 WL 346002 (E.D. Mo. Jan.
      20, 2023)

34.   United States v. Tucker, No. 2:22-cr-00017, 2023 WL 205300 (S.D. W. Va. Jan.
      17, 2023)

35.   United States v. Serrano, --- F. Supp. 3d ----, 2023 WL 2297447 (S.D. Cal. Jan.
      17, 2023).

36.   United States v. Spencer, No. 2:22-cr-561, Dkt. No. 24 (S.D. Tex. Jan. 12, 2023)

37.   United States v. Moore, No. 3:20-cr-00474-IM-1, 2023 WL 154588 (D. Or. Jan. 11,
      2023)

38.   United States v. Jordan, --- F. Supp. 3d ----, 2023 WL 157789 (W.D. Tex. Jan. 11,
      2023)

39.   United States v. Garrett, --- F. Supp. 3d ----, 2023 WL 157961 (N.D. Ill. Jan. 11,
      2023)

40.   Campiti v. Garland, --- F. Supp. 3d ----, 2023 WL 143173 (D. Conn. Jan. 10, 2023),
      appeal docketed No. 23-196 (2d Cir. Feb 13, 2023)

41.   United States v. Coleman, No. 3:22-CR-8-2 (GROH), 2023 WL 122401 (N.D. W.
      Va. Jan. 6, 2023)

42.   United States v. Medrano, No. 3:21-CR-39 (GROH), 2023 WL 122650 (N.D. W.
      Va. Jan. 6, 2023)

43.   United States v. Olson, No. 1:22-cr-20525, Dkt. No. 33 (S.D. Fla. Jan. 5, 2023)

44.   United States v. Wondra, No. 1:22-cr-00099-BLW, 2022 WL 17975985 (D. Idaho
      Dec. 27, 2022)

45.   United States v. Jones, No. 5:22-cr-376, Dkt. No. 59 (W.D. Okla. Dec. 23, 2022)*




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46.   United States v. Williams, No. 1:21:-cr-00362-LMM-LTW-1, 2022 WL 17852517
      (N.D. Ga. Dec. 22, 2022)

47.   United States v. Dawson, No. 3:21-CR-00293-RJC-DCK, 2022 WL 17839807
      (W.D.N.C. Dec. 21, 2022)

48.   United States v. Goins, --- F. Supp. 3d ----, 2022 WL 17836677 (E.D. Ky. Dec. 21,
      2022)

49.   United States v. Hunter, --- F. Supp. 3d ----, 2022 WL 17640254 (N.D. Ala. Dec.
      13, 2022)

50.   United States v. Spencer, No. 2:22cr106, 2022 WL 17585782 (E.D. Va. Dec. 12,
      2022)

51.   United States v. Grinage, No. SA-21-CR-00399-JKP, 2022 WL 17420390 (W.D.
      Tex. Dec. 5, 2022)

52.   United States v. Wagoner, No. 4:20-cr-00018, 2022 WL 17418000 (W.D. Va. Dec.
      5, 2022)

53.   United States v. Gay, No. 4:20-cr-40026-JES-JEH-1, Dkt. No. 412 (C.D. Ill. Dec.
      5, 2022)

54.   United States v. Glaze, No. 5:22-cr-425-J, Dkt. No. 23 (W.D. Okla. Dec. 1, 2022)*


55.   United States v. Jacobs, No. 2:22-cr-00160-MEMF, Dkt. No. 28 (C.D. Cal. Nov.
      28, 2022)

56.   United States v. Cage, No. 3:21-CR-68-KHJ-FKB, 2022 WL 17254319 (S.D. Miss.
      Nov. 28, 2022)

57.   United States v. Willis, No. 22-cr-00186-RMR, 2022 WL 17177470 (D. Colo. Nov.
      23, 2022), appeal docketed, No. 23-1058 (10th Cir. Mar. 2, 2023)*

58.   United States v. Teerlink, No. 2:22-CR-0024-TS, 2022 WL 17093425 (D. Utah
      Nov. 21, 2022)*

59.   United States v. Good, No. 21-00180-01-CR-W-HFS, 2022 WL 18107183 (W.D.
      Mo. Nov. 18, 2022), report and recommendation adopted, 2023 WL 25725 (W.D.
      Mo. Jan. 3, 2023)

60.   United States v. Hill, No. H-22-249, 2022 WL 17069855 (S.D. Tex. Nov. 17, 2022)

61.   United States v. Blackburn, No. 1:22-cr-209, Dkt. No. 28 (M.D. Pa. Nov. 17, 2022)

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62.   United States v. Mitchell, No. 1:22-00111-KD-MU, 2022 WL 17492259 (S.D. Ala.
      Nov. 17, 2022)

63.   United States v. Banuelos, No. EP-22-CR-00903-FM, 2022 WL 17752205 (W.D.
      Tex. Nov. 10, 2022)

64.   United States v. Baker, No. 2:20-cr-00301-DBB, 2022 WL 16855423 (D. Utah Nov.
      10, 2022)*

65.   United States v. Carpenter, No. 1:21-cr-00086-DBB, 2022 WL 16855533 (D. Utah
      Nov. 10, 2022)*

66.   United States v. Gray, No. 22-cr-00247-CNS, 2022 WL 16855696 (D. Colo. Nov.
      10, 2022)*

67.   United States v. Moore, No. 21-121, 2022 WL 17490021 (W.D. Pa. Nov. 9, 2022)

68.   United States v. Reese, No. 19-cr-257, 2022 WL 16796771 (W.D. Pa. Nov. 8,
      2022)

69.   United States v. Young, --- F. Supp. 3d ----, 2022 WL 16829260 (W.D. Pa. Nov. 7,
      2022)

70.   United States v. Ford, No. 21-00179-01-CR-W-HFS, 2022 WL 17331288 (W.D.
      Mo. Nov. 4, 2022), report and recommendation adopted, 2022 WL 17327499
      (W.D. Mo. Nov. 29, 2022)

71.   United States v. Butts, --- F. Supp. 3d ----, 2022 WL 16553037 (D. Mont. Oct. 31,
      2022)

72.   United States v. Burton, No. 3:22-362-MGL-1, 2022 WL 16541139 (D.S.C. Oct.
      28, 2022)

73.   United States v. Carleson, No. 3:22-cr-00032-SLG, 2022 WL 17490753 (D. Alaska
      Oct. 28, 2022)

74.   United States v. Grant, No. 3:22-161-MGL-1, 2022 WL 16541138 (D.S.C. Oct. 28,
      2022)

75.   Walker v. United States, No. 20-CV-31-DMS-AGS, 2022 WL 16541183 (S.D. Cal.
      Oct. 28, 2022)

76.   United States v. Law, No. 20-341, 2022 WL 17490258 (W.D. Pa. Oct. 27, 2022)




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77.   United States v. Jones, No. 20-00354-01-CR-W-HFS, 2022 WL 17331287 (W.D.
      Mo. Oct. 19, 2022), report and recommendation adopted, 2022 WL 17327498
      (W.D. Mo. Nov. 29, 2022)

78.   United States v. Minter, --- F. Supp. 3d ----, 2022 WL 10662252 (M.D. Pa. Oct. 18,
      2022)

79.   United States v. Melendrez-Machado, --- F. Supp. 3d ----, 2022 WL 17684319
      (W.D. Tex. Oct. 18, 2022)

80.   United States v. Raheem, No. 3:20-cr-61-RGJ, 2022 WL 10177684 (W.D. Ky. Oct.
      17, 2022)

81.   United States v. Ridgeway, No. 22cr175-CAB, 2022 WL 10198823 (S.D. Cal. Oct.
      17, 2022)

82.   United States v. Trinidad, No. 21-398 (SCC), 2022 WL 10067519 (D.P.R. Oct. 17,
      2022)

83.   United States v. Carrero, --- F. Supp. 3d ----, 2022 WL 9348792 (D. Utah Oct. 14,
      2022)*

84.   United States v. Riley, --- F. Supp. 3d ----, 2022 WL 7610264 (E.D. Va. Oct. 13,
      2022)

85.   United States v. Price, --- F. Supp. 3d ----, 2022 WL 6968457 (S.D. W. Va. Oct. 12,
      2022)

86.   United States v. King, --- F. Supp. 3d ----, 2022 WL 5240928 (S.D.N.Y. Oct. 6,
      2022)

87.   United States v. Delpriore, --- F. Supp. 3d ----, 2022 WL 17490771 (D. Alaska Oct.
      4, 2022)

88.   United States v. Daniels, No. 1:03-cr-00083-MR, 2022 WL 5027574 (W.D.N.C.
      Oct. 4, 2022)

89.   United States v. Charles, --- F. Supp. 3d ----, 2022 WL 4913900 (W.D. Tex. Oct.
      3, 2022)

90.   United States v. Campbell, No. CR-22-00138-001-HE, 2022 WL 17492255 (W.D.
      Okla. Sept. 27, 2022)*

91.   United States v. Siddoway, No. 1:21-cr-00205-BLW, 2022 WL 4482739 (D. Idaho
      Sept. 27, 2022)



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92.    United States v. Perez, No. 3:21-cr-508-CAB-1, 2022 WL 17484969 (S.D. Cal.
       Sept. 26, 2022)

93.    United States v. Collette, --- F. Supp. 3d ----, 2022 WL 4476790 (W.D. Tex. Sept.
       25, 2022)

94.    United States v. Coombes, --- F. Supp. 3d ----, 2022 WL 4367056 (N.D. Okla. Sept.
       21, 2022)*

95.    United States v. Hill, --- F. Supp. 3d ----, 2022 WL 4361917 (S.D. Cal. Sept. 20,
       2022)

96.    United States v. Cockerham, No. 5:21-cr-6-DCB-FKB, 2022 WL 4229314 (S.D.
       Miss. Sept. 13, 2022)

97.    United States v. Jackson, No. 21-51 (DWF/TNL), 2022 WL 4226229 (D. Minn.
       Sept. 13, 2022)

98.    United States v. Doty, No. 5:21-CR-21, 2022 WL 17492260 (N.D. W. Va. Sept. 9,
       2022)

99.    United States v. Harper, No. 21-CR-4085-LTS-KEM, 2022 WL 8288406 (N.D. Iowa
       Sept. 9, 2022), report and recommendation adopted, --- F. Supp. 3d ----, 2022 WL
       4595060 (N.D. Iowa Sept. 30, 2022)

100.   United States v. Burrell, No. 21-20395, 2022 WL 4096865 (E.D. Mich. Sept. 7,
       2022)

101.   United States v. Randle, No. 3:22-cr-20, Dkt. Nos. 29, 34 (S.D. Miss. Sept. 6, 2022)

102.   United States v. Ingram, --- F. Supp. 3d ----, 2022 WL 3691350 (D.S.C. Aug. 25,
       2022)

103.   United States v. Nevens, No. CR 19-774-DMG, 2022 WL 17492196 (C.D. Cal.
       Aug. 15, 2022)

104.   United States v. Farris, No. 22-cr-149, Dkt. No. 29 (D. Colo. Aug. 12, 2022)*

105.   United States v. Ramos, No. 2:21-cr-00395-RGK-1, 2022 WL 17491967 (C.D. Cal.
       Aug. 5, 2022)

106.   United States v. Doss, No. 4:21-cr-74, Dkt. No. 126 (S.D. Iowa Aug. 2, 2022)




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